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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                         Case No. 20cr1739-DMS
11                       Plaintiff,                    PRELIMINARY ORDER
                                                       OF CRIMINAL FORFEITURE
12           v.
13   JORGE DE LA TORRE,
14                       Defendant.
15
16          WHEREAS, in the Information filed in this case, the United States sought forfeiture
17 of all firearms and ammunition involved in the commission of the offenses charged in the
18 Information pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c); and
19          WHEREAS, pursuant to the terms of the Plea Agreement and Forfeiture Addendum
20 between the parties, the Defendant consented to the forfeiture of all right, title and interest
21 in all properties seized in connection with this case, pursuant to 18 U.S.C. § 924(d) and
22 28 U.S.C. § 2461(c), which were involved in the violation of 18 U.S.C. § 922(g)(1), as
23 charged in Counts 1 and 2 of the Information to which the Defendant entered guilty
24 pleas; and
25          WHEREAS, on or about July 21, 2020, the Defendant pled guilty before Magistrate
26 Judge Karen S. Crawford to Counts 1 and 2 of the Information, which pleas included
27 consent to forfeiture of all properties seized in connection with this case, including all
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 1 firearms and ammunition involved in the commission of the offense, including forfeiture
 2 of the following:
 3               a)     Smith & Wesson M&P 15 Rifle CAL:multi SN:ST27693;
 4               b)     Para-Ordnance MFG. INC. P13.45 Pistol CAL:45 SN:RN4410;
 5               c)     50 Rounds Other Ammunition CAL:45;
 6               d)     40 Rounds CCI Ammunition CAL:22;
 7               e)     16 Rounds Unknown Ammunition CAL:556;
 8               f)     8 Rounds Winchester-Western Ammunition CAL:45;
 9               g)     1 Round Unknown Ammunition CAL:12;
10               h)     Unknown Firearms Parts and Accessories: 1 rifle magazine
11                      Model:unknown CAL:unknown SN:none; and
12               i)     1 Round Unknown Ammunition CAL:22; and
13         WHEREAS, by virtue of the facts set forth in the Plea Agreement and Forfeiture
14 Addendum, the United States has established the requisite nexus between the forfeited
15 properties and the offenses of conviction; and
16         WHEREAS, by virtue of Defendant’s factual admission and guilty pleas to Counts
17 1 and 2 of the Information, said properties are hereby ordered forfeited to the United States,
18 and it is now entitled to possession of said properties, pursuant to 18 U.S.C. § 924(d) and
19 28 U.S.C. § 2461(c); and
20         WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
21 authority to take custody of the following properties which are hereby found forfeitable by
22 the Court, namely:
23               a)     Smith & Wesson M&P 15 Rifle CAL:multi SN:ST27693;
24               b)     Para-Ordnance MFG. INC. P13.45 Pistol CAL:45 SN:RN4410;
25               c)     50 Rounds Other Ammunition CAL:45;
26               d)     40 Rounds CCI Ammunition CAL:22;
27               e)     16 Rounds Unknown Ammunition CAL:556;
28               f)     8 Rounds Winchester-Western Ammunition CAL:45;

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 1                g)    1 Round Unknown Ammunition CAL:12;
 2                h)    Unknown Firearms Parts and Accessories: 1 rifle magazine
 3                      Model:unknown CAL:unknown SN:none; and
 4                i)    1 Round Unknown Ammunition CAL:22; and
 5         WHEREAS, the United States, having submitted the Order herein to the Defendant
 6 through his attorney of record to review, and no objections having been received.
 7         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
 8         1.     Based upon the factual admission of the Defendant and his guilty pleas, the
 9 United States is hereby authorized to take custody and control of the following assets, and
10 the Defendant has hereby forfeited to the United States all of his right, title, and interest to
11 said properties pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), for disposition in
12 accordance with the law, subject to the provisions of 21 U.S.C. § 853(n).
13                a)    Smith & Wesson M&P 15 Rifle CAL:multi SN:ST27693;
14                b)    Para-Ordnance MFG. INC. P13.45 Pistol CAL:45 SN:RN4410;
15                c)    50 Rounds Other Ammunition CAL:45;
16                d)    40 Rounds CCI Ammunition CAL:22;
17                e)    16 Rounds Unknown Ammunition CAL:556;
18                f)    8 Rounds Winchester-Western Ammunition CAL:45;
19                g)    1 Round Unknown Ammunition CAL:12;
20                h)    Unknown Firearms Parts and Accessories: 1 rifle magazine
21                      Model:unknown CAL:unknown SN:none; and
22                i)    1 Round Unknown Ammunition CAL:22.
23         2.     The aforementioned forfeited assets are to be held by the Bureau of Alcohol,
24 Tobacco, Firearms and Explosives (“ATF”) in its secure custody and control.
25         3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized to
26 begin proceedings consistent with any statutory requirements pertaining to ancillary
27 hearings and rights of third parties. The Court shall conduct ancillary proceedings as the
28 Court deems appropriate only upon the receipt of timely third-party petitions filed with the

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 1 Court and served upon the United States. The Court may determine any petition without
 2 the need for further hearings upon the receipt of the Government’s response to any petition.
 3 The Court may enter an amended order without further notice to the parties.
 4          4.    Pursuant to the Attorney General’s authority under Section 853(n)(1) of
 5 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
 6 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, the
 7 United States forthwith shall publish for thirty (30) consecutive days on the Government’s
 8 forfeiture website, www.forfeiture.gov, notice of this Order, notice of the United States’
 9 intent to dispose of the properties in such manner as the Attorney General may direct, and
10 notice that any person, other than the Defendant, having or claiming a legal interest in the
11 above-listed forfeited properties must file a petition with the Court within thirty (30) days
12 of the final publication of notice or of receipt of actual notice, whichever is earlier.
13          5.    This notice shall state that the petition shall be for a hearing to adjudicate the
14 validity of the petitioner's alleged interest in the property, shall be signed by the petitioner
15 under penalty of perjury, and shall set forth the nature and extent of the petitioner's right,
16 title or interest in the forfeited property and any additional facts supporting the petitioner's
17 claim and the relief sought.
18          6.    The United States shall also, to the extent practicable, provide direct written
19 notice to any person known to have alleged an interest in the properties that is the subject
20 of the Preliminary Order of Criminal Forfeiture.
21          7.    Upon adjudication of all third-party interests, this Court will enter an
22 Amended Order of Criminal Forfeiture pursuant to 21 U.S.C. § 853(n), in which all
23 interests will be addressed.
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 1        8.     Pursuant to Rule 32.2(b)(4), this Order of Criminal Forfeiture shall be made
 2 final as to the Defendant at the time of sentencing and is part of the sentence and included
 3 in the judgment.
 4        DATED: 10/23/2020
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                                           Hon. DANA M. SABRAW
 6                                         United States District Judge
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